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AO 245B        (Rev. 09/13) Judgment in a Criminal Case
               Sheet 1



                                        UNITED STATES DISTRICT COURT
                                                    Southern      District of         Indiana
                                                                         )
             UNITED STATES OF AMERICA                                    )      JUDGMENT IN A CRIMINAL CASE
                                  v.                                     )
                                                                         )
                     WILLIAM H. ELDER                                    )      Case Number: 3:13CR00017-001
                                                                         )
                                                                                USM Number: 11257-028
                                                                         )
                                                                         )      Erin L. Berger
                                                                                Defendant’s Attorney
THE DEFENDANT:
   pleaded guilty to count(s)
   pleaded nolo contendere to count(s)
   which was accepted by the court.
   was found guilty on count(s) 1
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

          Title & Section                     Nature of Offense                                      Offense Ended             Count

 21 U.S.C. §§ 841(a)(1), 846,                 Conspiracy to Distribute Methamphetamine                  03/31/2013               1
           and 851




       The defendant is sentenced as provided in pages 2 through                5      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                                is        are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.

                                                                      07/22/2015
                                                                      Date of Imposition of Judgment


   A CERTIFIED TRUE COPY
   Laura A. Briggs, Clerk                                              __________________________________
                                                                      Signature of Judge
   U.S. District Court
   Southern District of Indiana                                        RICHARD L. YOUNG, CHIEF JUDGE
                                                                       United States District Court
   By                                                                  Southern
                                                                      The        District
                                                                          Honorable RichardofL.Indiana
                                                                                                Young, U.S. District Court Chief Judge
                         Deputy Clerk                                 Name and Title of Judge
                                                                        8/10/15
                                                                      Date
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AO 245B    (Rev. 09/13) Judgment in Criminal Case
           Sheet 2 — Imprisonment

                                                                                                       Judgment — Page       2   of   5
 DEFENDANT:              WILLIAM H. ELDER
 CASE NUMBER:             3:13CR00017-001

                                                             IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:     Life

          The court makes the following recommendations to the Bureau of Prisons:
          Be designated to a facility close to Ft. Myers, Florida, or Phoenix, Arizona. Be evaluated for his medical issues.

          The defendant is remanded to the custody of the United States Marshal.

           The defendant shall surrender to the United States Marshal for this district:
              at                                      a.m.        p.m.       on                                          .
              as notified by the United States Marshal.

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
              before 2 p.m. on                                           .
              as notified by the United States Marshal.
              as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                        to

 at                                                 , with a certified copy of this judgment.


                                                                                                UNITED STATES MARSHAL


                                                                         By
                                                                                        DEPUTY UNITED STATES MARSHAL
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AO 245B     (Rev. 09/13) Judgment in a Criminal Case
            Sheet 3 — Supervised Release
                                                                                                         Judgment—Page     3   of        5
 DEFENDANT:               WILLIAM H. ELDER
 CASE NUMBER:              3:13CR00017-001
                                                       SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of : 10 years



          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
 from the custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
 controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
 periodic drug tests thereafter.
        The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16913,
        et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or
        she resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance
 with the Schedule of Payments sheet of this judgment.
            The defendant must comply with the conditions listed below:



                                                   CONDITIONS OF SUPERVISION
   1)     The defendant shall not leave the judicial district without the permission of the court or probation officer.
   2)     The defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer.
   3)     The defendant shall answer all inquiries by the probation officer and follow the instructions of the probation officer.
   4)     The defendant shall notify the probation officer prior to any change in residence or employer.
   5)     The defendant shall not meet, communicate, or otherwise interact with a person whom the defendant knows to be engaged, or
          planning to be engaged, in criminal activity, or whom the defendant knows to have been convicted of a felony, unless granted
          permission to do so by the probation officer.
   6)     The defendant shall permit a probation officer to visit him at home or elsewhere and shall permit confiscation of any contraband
          observed in plain view of the probation officer.
   7)     The defendant shall notify the probation officer within 72 hours of being arrested or having any official law enforcement contact.
   8)     The defendant shall provide the probation officer access to any requested financial information.
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 AO 245B    (Rev. 09/13) Judgment in a Criminal Case
            Sheet 3C — Supervised Release

                                                                                                     Judgment—Page    3.01    of     5
DEFENDANT:             WILLIAM H. ELDER
CASE NUMBER:            3:13CR00017-001




 Upon a finding of a violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the
term of supervision, and/or (3) modify the condition of supervision.

 These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



 (Signed)
                                  Defendant                                            Date


                                  U.S. Probation Officer/Designated Witness            Date
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 AO 245B    (Rev. 09/13) Judgment in a Criminal Case
            Sheet 5 — Criminal Monetary Penalties
                                                                                                   Judgment — Page       4       of     5
  DEFENDANT:              WILLIAM H. ELDER
  CASE NUMBER:             3:13CR00017-001

                                              CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                         Assessment                                     Fine                                   Restitution
  TOTALS             $ 100.00                                       $                                      $

       The determination of restitution is deferred until               . An Amended Judgment in a Criminal Case (AO 245C) will be
       entered after such determination.

       The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
       otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
       victims must be paid before the United States is paid.

           Name of Payee                         Total Loss*                     Restitution Ordered                  Priority or Percentage




  TOTALS                                $                                  $

        Restitution amount ordered pursuant to plea agreement $

        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
        subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
        The court determined that the defendant does not have the ability to pay interest and it is ordered that:

             the interest requirement is waived for the         fine           restitution.

             the interest requirement for the           fine       restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
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AO 245B   (Rev. 09/13) Judgment in a Criminal Case
          Sheet 6 — Schedule of Payments

                                                                                                              Judgment — Page        5       of   5
 DEFENDANT:             WILLIAM H. ELDER
 CASE NUMBER:            3:13CR00017-001
                                                     SCHEDULE OF PAYMENTS
 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A        Lump sum payment of                                due immediately, balance due
                not later than                                   , or
                in accordance              C           D          E, or         G below; or
 B        Payment to begin immediately (may be combined with                    C,           D, or           G below); or
 C        Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                          (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

 D        Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                        (e.g., months or years), to commence                     (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or
 E        Payment during the term of supervised release will commence within              (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F         If this case involves other defendants, each may be held jointly and severally liable for payment of all or part of the
           restitution ordered herein and the Court may order such payment in the future. The victims' recovery is limited to the
           amount of loss, and the defendant's liability for restitution ceases if and when the victims receive full restitution.
 G         Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
 due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
 Inmate Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
      Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.
                   Defendant Name                                     Case Number                                Joint & Several Amount




      The defendant shall pay the cost of prosecution.
      The defendant shall pay the following court cost(s):
      The defendant shall forfeit the defendant’s interest in the following property to the United States:

 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
